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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


   COMMITTEE ON THE JUDICIARY,
   UNITED STATES HOUSE OF
   REPRESENTATIVES,

                             Plaintiff,
                                                        No. 19-cv-2379 (KBJ)
                       v.

   DONALD F. MCGAHN II,

                             Defendant.



           INDEX OF EXHIBITS TO DECLARATION OF DAVID F. LASSETER


Exhibit                                      Document

   A.       Letter to Chairman Graham, Ranking Member Feinstein, Chairman Nadler, and
            Ranking Member Collins from Attorney General Barr, dated March 22, 2019.
   B.       Letter to Chairman Graham, Ranking Member Feinstein, Chairman Nadler, and
            Ranking Member Collins from Attorney General Barr, dated March 24, 2019.
   C.       Letter to Attorney General Barr from Chairman Cummings, Chairwoman Waters,
            Chairman Engel, Chairman Neal, Chairman Schiff, and Chairman Nadler, dated
            March 25, 2019.
   D.       Letter to Chairman Graham and Chairman Nadler from Attorney General
            Barr, dated March 29, 2019.
   E.       Letter to Attorney General Barr from Chairman Cummings, Chairwoman Waters,
            Chairman Engel, Chairman Neal, Chairman Schiff, and Chairman Nadler, dated
            April 1, 2019.
   F.       Letter to Chairman Graham, Ranking Member Feinstein, Chairman Nadler,
            and Ranking Member Collins from Attorney General Barr, dated April 18,
            2019.
   G.       Letter to Chairman Graham and Chairman Nadler from Assistant Attorney
            General Boyd, dated April 18, 2019.
   H.       Subpoena issued by Chairman Nadler and the House Committee on the
            Judiciary to Attorney General Barr, dated April 18, 2019.
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I.     Letter to Chairman Nadler from Assistant Attorney General Boyd, dated
       May 1, 2019.
J.     Letter to Attorney General Barr from Chairman Nadler, dated May 3, 2019.
K.     Letter to Chairman Nadler from Assistant Attorney General Boyd, dated May 6,
       2019.
L.     Letter to Attorney General Barr and Pat Cipollone, Counsel to the President, from
       Chairman Nadler, dated May 24, 2019.
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,
                                            No. 19-cv-2379 (KBJ)
               v.

DONALD F. MCGAHN II,

                       Defendant.




                               EXHIBIT A
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                                     The Attorney General
                                            Washington, D.C.

                                              March 22, 2019
The Honorable Lindsey Graham                            The Honorable Jerrold Nadler
Chairman, Committee on the Judiciary                    Chairman, Committee on the Judiciary
United States Senate                                    United States House of Representatives
290 Russell Senate Office Building                      2132 Rayburn House Office Building
Washington, D.C. 20510                                  Washington, D.C. 20515

The Honorable Dianne Feinstein                          The Honorable Doug Collins
Ranking Member, Committee on the Judiciary              Ranking Member, Committee on the Judiciary
United States Senate                                    United States House of Representatives
331 Hart Senate Office Building                         1504 Longworth House Office Building
Washington, D.C. 20510                                  Washington, D.C. 20515


Dear Chairman Graham, Chairman Nadler, Ranking MemberFeinstein, and Ranking Member
Collins:

           I write to notify you pursuantto 28 C.F.R. § 600.9(a)(3) that Special Counsel Robert S. Mueller
III has concludedhis investigation of Russian interference in the 2016 election and related matters. In
addition to this notification, the Special Counsel regulations require that I provide you with “a
description and explanation of instances(if any) in which the Attorney General” or acting Attorney
General “concluded that a proposed action by a Special Counsel was so inappropriate or unwarranted
under established Departmental practices that it should not be pursued.” 28 C.F.R. § 600.9(a)(3).
There were no such instances during the Special Counsel’s investigation.

        The Special Counsel has submitted to me today a “confidential report explaining the
prosecution or declination decisions” he has reached, as required by 28 C.F.R. § 600.8(c). I am
reviewing the report and anticipate that I may bein a position to advise you of the Special Counsel’s
principal conclusions as soon as this weekend.

        Separately, I intend to consult with Deputy Attorney General Rosenstein and Special Counsel
Mueller to determine what other informationfrom the report can be released to Congressandthe public
consistent with the law, including the Special Counselregulations, and the Department’s long-standing
practices and policies. I remain committed to as much transparencyas possible, and I will keep you
informedasto the status of my review.

        Finally, the Special Counsel regulations provide that“the Attorney General may determine that
public release of” this notification “would be in the public interest.” 28 C.F.R. § 600.9(c). I have so
determined,and I will disclose this letter to the public after delivering it to you.

                                                          Sincerely,


                                                            ‘liam [ee
                                                          Attorney General
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,
                                            No. 19-cv-2379 (KBJ)
               v.

DONALD F. MCGAHN II,

                       Defendant.




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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,
                                            No. 19-cv-2379 (KBJ)
                v.

DONALD F. MCGAHN II,

                       Defendant.




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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,
                                            No. 19-cv-2379 (KBJ)
                v.

DONALD F. MCGAHN II,

                       Defendant.




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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,
                                            No. 19-cv-2379 (KBJ)
                v.

DONALD F. MCGAHN II,

                       Defendant.




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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,
                                            No. 19-cv-2379 (KBJ)
                v.

DONALD F. MCGAHN II,

                       Defendant.




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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,
                                            No. 19-cv-2379 (KBJ)
                v.

DONALD F. MCGAHN II,

                       Defendant.




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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,
                                            No. 19-cv-2379 (KBJ)
                v.

DONALD F. MCGAHN II,

                       Defendant.




                               EXHIBIT H
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                                                       SUBPOENA
                     BY AUTHORITY OF THE HOUSE OF REPRESENTATIVES OF THE
                          CONGRESS OF THE UNITED STATES OF AMERICA

     The Honorable William P. Barr, Attorney General of the United States
To

            You are hereby commanded to be and appear before the
                     Committee on the Judiciary


             of the House of Representatives of the United States at the place, date, and time specified below.

        to producethe things identified on the attached schedule touching matters of inquiry committed to said
        committee or subcommittee; and you are not to depart without leave of said committee or subcommittee.


             Place of production: 2138 Rayburn House Office Building, Washington, D.C., 20515

             Date: May 1, 2019                                                     Time: 10:00am

            to testify at a deposition touching matters of inquiry committed to said committee or subcommittee;
            and you are not to depart without leave of said committee or subcommittee.

             Place of testimony:
                                            (and continuing until completed)
             Date:                                                                 Time:


            to testify at a hearing touching matters of inquiry committed to said committee or subcommittee; and
             you are not to depart without leave of said committee or subcommittee.

              Place of testimony:

              Date:                                                                Time:



To any authorized staff memberor the U.S. Marshals Service
                                                                                                to serve and make return.

                                    Witness my hand and the seal of the House of Representatives of the UnitedStates, at

                                       the city of Washington, D.C. this 1 8th   day of April                     , 2019.



                          L ¢)                                                        Chairman or Authorized Member
A       :


Clerk           UY             /
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                                        PROOF OF SERVICE



Subpoenafor
              The Honorable William P. Barr, Attorney General of the United States

Address United States Department of Justice

950 Pennsylvania Ave., NW, Washington DC, 20530

before the Committee on the Judiciary




U.S. House ofRepresentatives
116th Congress




 Served by (print name) Aaron Hiller

Title Deputy Chief Counsel, House Judiciary Committee

Mannerof service Electronic




 Date 04/19/2019

 Signature of Server         (2rf i.
                              a
 Address 2138 Rayburn House Office Building

 Washington, D.C. 20515
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                                              SCHEDULE

       You are hereby required to producethe following in accordance with the attached Definitions
and Instructions:

   1. The complete and unredacted version of the report submitted on or about March 22, 2019 by
      Special Counsel Robert Mueller, pursuant to his authority under 28 C.F.R. § 600.8(c), entitled,
      “Report on the Investigation into Russian Interference in the 2016 Presidential Election” (“the
      Report”). This includes, but is not limited to, all summaries, exhibits, indices, tables of contents
      or other tables or figures, appendices, supplements, addendaor any other attachments whether
      written or attached in a separate electronic format.

   2. All documents referenced in the Report.

   3. All documents obtained and investigative materials created by the Special Counsel’s Office.
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                                             DEFINITIONS

        As used in this subpoena, the following terms shall be interpreted in accordance with these
definitions:

    1. “And,” and “or,” shall be construed broadly and either conjunctively or disjunctively to bring
       within the scope of this subpoena any information that might otherwise be construed to be
       outside its scope. The singular includes plural number, and vice versa. The masculine includes
       the feminine and neutral genders.
   2. “Any”includes “all,” and “all” includes “any.”
   3. “Communication(s)” meansthe transmittal of information by any means, whetheroral,
       electronic, by documentor otherwise, and whether in a meeting, by telephone, facsimile, mail,
       releases, electronic message including email, text message, instant message, MMSor SMS
       message, encrypted message, message application, social media, or otherwise.
   4. “Employee” meansany past or present agent, borrowed employee, casual employee, consultant,
       contractor, de facto employee,detailee, fellow, independent contractor, intern, joint adventurer,
       loaned employee,officer, part-time employee, permanent employee, provisional employee,
       special government employee, subcontractor, or any other type of service provider.
   5. “Document” means any written, recorded, or graphic matter of any nature whatsoever, regardless
      of how recorded, and whetheroriginal or copy, including, but not limitedto, the following:
      memoranda, reports, expense reports, books, manuals, instructions, financial reports, working
       papers, records, notes,letters, notices, confirmations, telegrams, receipts, appraisals, pamphlets,
       magazines, newspapers, prospectuses, interoffice and intra-office communications, electronic
       mail (“e-mail”), instant messages, calendars, contracts, cables, notations of any type of
       conversation, telephone call, meeting or other communication, bulletins, printed matter,
       computerprintouts, invoices, transcripts, diaries, analyses, returns, summaries, minutes, bills,
       accounts, estimates, projections, comparisons, messages, correspondence,press releases,
       circulars, financial statements, reviews, opinions, offers, studies and investigations,
       questionnaires and surveys, power point presentations, spreadsheets, and work sheets. The term
       “document” includes all drafts, preliminary versions,alterations, modifications, revisions,
       changes, and amendmentsto the foregoing, as well as any attachments or appendicesthereto.
    6. “Documents in your possession, custody or control” means (a) documents that are in your
       possession, custody, or control, whether held by you or your past or present agents, employees,
       or representatives acting on yourbehalf; (b) documents that you have a legal right to obtain, that
       you have a right to copy, or to which you have access; and (c) documents that have been placed
       in the possession, custody, or control of any third party. This includesbutis notlimited to
       documents that are or were held by yourattorneys.
    7. “Each”shall be construed to include “every,” and “every” shall be construed to include “each.”
    8. “Including” shall be construed broadly to mean “including, but not limited to.”
    9. “Investigative materials” means any document created, generated, authored, or obtained bythe
       Special Counsel’s Office pursuant to the Special Counsel’s Investigation, including but not
       limited to, prosecution memoranda, FBI 302interviewreports, signals intelligence, witness
       interviews, written interrogatories and responses, search warrants, subpoenas, Foreign
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   Intelligence Surveillance Act applications, notes, transcripts, reports, whether classified or
   unclassified.
10. “Person” or “persons” meansnaturalpersons,firms, partnerships, associations, corporations,
    subsidiaries, division, departments, joint ventures proprietorships, syndicates, or otherlegal
    business or governmententities, and all subsidiaries,affiliates, divisions, departments, branches,
    or other units, thereof.
11. “Referenced” means cited, quoted, mentioned, described, alluded to, contained, incorporated,
    reproduced,or identified in any manner whatsoever.
12. “Relating to” shall mean discussing, describing, reflecting, containing, analyzing, studying,
    reporting, commenting, evidencing, constituting, comprising, showing, setting forth, considering,
    recommending, concerning,or pertinent to that subject in any manner whatsoever.
13. “Special Counsel’s Office” meansthe office created pursuant to Department of Justice Order No.
    3915-17 issued by the Acting Attorney General on May 17, 2017 appointing Robert S, Mueller
    III as Special Counsel, and its employees.
14. “Special Counsel’s Investigation” meansthe investigation conducted by the Special Counsel’s
    Office pursuant to Department of Justice Order No. 3915-17 issued by the Acting Attorney
    General on May 17, 2017.
15. “The Report” means the complete and unredacted version of the report submitted on or about
    March 22, 2019 by Special Counsel Robert Mueller, pursuant to his authority under 28 C.F.R. §
    600.8(c), entitled, “Report on the Investigation into Russian Interference in the 2016 Presidential
    Election.”
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                                        INSTRUCTIONS

. In complying with this subpoena, you should produce all responsive documents in unredacted
  form that are in your possession, custody, or control or otherwise available to you, regardless of
  whether the documents are possessed directly by you. If a documentis referenced in the Report
  in part, you should produceit in full in a complete and unredacted form.

.   Documents responsive to the subpoena should not be destroyed, modified, removed, transferred,
    or otherwise made inaccessible to the Committee.

. In the event that a documentis withheld in full or in part on any basis, including a claim of
  privilege, you should provide a log containing the following information concerning every such
  document: (i) the reason the documentis not being produced;(ii) the type of document;(iii) the
  general subject matter; (iv) the date, author, addressee, and any other recipient(s); (v) the
    relationship of the author and addressee to each other; and (vi) any other description necessary to
    identify the document and to explain the basis for not producing the document. If a claimed
    privilege applies to only a portion of any document, that portion only should be withheld and the
    remainderof the document should be produced. As used herein, “claim of privilege” includes, but
    is not limited to, any claim that a document either may or must be withheld from production
    pursuant to any law,statute, rule, policy or regulation.

. Anyobjectionsor claimsof privilege are waived if you fail to provide an explanation of whyfull
  compliance is not possible and a log identifying with specificity the ground(s) for withholding
  each documentprior to the subpoena compliance date.

. In complying with the subpoena, be apprised that the Committee does not recognize: any
  purported non-disclosure privileges associated with the common law including,but not limited to
  the deliberative-process privilege, the attorney-client privilege, and attorney work product
  protections; or any purported contractual privileges, such as non-disclosure agreements.

. Any assertion of any such non-constitutional legal bases for withholding documents or other
  materials, shall be of no legal force and effect and shall not provide a justification for such
  withholding or refusal, unless and only to the extent that the Committee has consented to
  recognize the assertion as valid.

. Pursuant to 5 U.S.C. § 552(d), the Freedom of Information Act (FOIA) and any statutory
  exemptions to FOIA shall not be a basis for withholding any information.

    Pursuant to 5 U.S.C. § 552a(b)(9), the Privacy Act shall not be a basis for withholding
    information.

. If any document responsive to this subpoena was, but no longeris, in your possession, custody,
  or control, or has been placed into the possession, custody, or control of any third party and cannot
  be provided in response to this subpoena, you should identify the document(stating its date,
  author, subject and recipients) and explain the circumstances under which the document ceased
  to be in your possession, custody, or control, or was placed in the possession, custody, or control
  of a third party, including, but not limited to (a) how the document was disposed of; (b) the name,
  current address, and telephone numberof the person who currently has possession, custody, or
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   control over the document; (c) the date of disposition; and (d) the name, current address, and
   telephone numberof each person who authorized said disposition or who had or has knowledge
   of said disposition.

10. If any document responsive to this subpoena cannot be located, describe with particularity the
    efforts made to locate the documentandthe specific reason for its disappearance, destruction or
    unavailability.

11. In the event that any entity, organization, or individual named in the subpoena hasbeen,oris
    currently, known by any other name, the subpoena should be read also to include such other
    namesunderthat alternative identification.

12. All documents should be produced with Bates numbers affixed. The Bates numbers must be
    unique, sequential, fixed-length numbers and must begin with a prefix referencing the name of
    the producing party (e.g., ABCD-000001). This format must remain consistent across all
    productions. The numberofdigits in the numeric portion of the format should not change in
    subsequent productions, nor should spaces, hyphens, or other separators be addedor deleted. All
    documents should be Bates-stamped sequentially and produced sequentially.

13. Documents produced pursuant to this subpoena should be produced in the order in which they
    appear in your files and should not be rearranged. Any documentsthat are stapled, clipped, or
    otherwise fastened together should not be separated. Documents produced in response to this
    subpoena should be produced together with copiesoffile labels, dividers, or identifying markers
    with which they were associated when this subpoena wasissued. Indicate the office or division
    and person from whosefiles each document was produced.

14. Responsive documents must be produced regardless of whether any other person or entity
    possesses non-identical or identical copies of the same document.

15. Produce electronic documents as created or stored electronically in their original electronic
   format. Documents produced in electronic format should be organized, identified, and indexed
   electronically, in a manner comparableto the organization structure called for in Instruction 13
   above.

16. Data may be produced on CD, DVD, memory stick, USB thumbdrive, hard drive, or via secure
   file transfer, using the media requiring the least numberof deliverables. Label all media with the
   following:

       a. Production date;

       b. Bates range;

       c. Disk number(1 of X), as applicable.

17. If a date or other descriptive detail set forth in this subpoena referring to a document,
   communication, meeting, or other eventis inaccurate, but the actual date or other descriptive detail
   is knownto you or is otherwise apparent from the context of the subpoena, you should produce
   all documents which would be responsiveas if the date or other descriptive detail were correct.
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18. The subpoena is continuing in nature and applies to any newly discovered document, regardless
    of the date of its creation. Any document not produced because it has not been located or
    discovered by the return date should be produced immediately upon location or discovery
    subsequentthereto.

19, Twosets of each production shall be delivered, one set to the Majority Staff and one set to the
    Minority Staff. Production sets shall be delivered to the Majority Staff in Room 2138 of the
    Rayburn House Office Building and the Minority Staff in Room 2142 of the Rayburn House
    Office Building. You should consult with Committee Majority Staff regarding the method of
    delivery prior to sending any materials.

20. If compliance with the subpoena cannot be made in full by the specified return date, compliance
    shall be made to the extent possible by that date. An explanation of why full compliance is not
    possible shall be provided along with any partial production. In the event that any responsive
    documents or other materials contain classified information, please immediately contact
    Committee staff to discuss how to proceed.

21. Upon completion of the document production, please submit a written certification, signed by you
    or by counsel, stating that: (1) a diligent search has been completed of all documents in your
    possession, custody, or control which reasonably could contain responsive documents; (2)
   documents responsive to the subpoena have not been destroyed, modified, removed, transferred,
   or otherwise made inaccessible to the Committee since the date of receiving the Committee’s
   subpoena or in anticipation of receiving the Committee’s subpoena, and (3) all documents
   identified during the search that are responsive have been produced to the Committee, identified
   in a log provided to the Committee, or otherwise identified as provided herein.

22. A coverletter should be included with each production including the following information:

       a. List of each piece of media (hard drive, thumb drive, DVD or CD) included in the
          production by the unique numberassigned to it, and readily apparent on the physical
           media;

       b. List of fields in the order in which theyare listed in the metadataload file;

       c. The paragraph(s) and/or clause(s) in the Committee’s subpoena to which each document
          responds;

       d. Time zone in which emails were standardized during conversion (email collections only);

       e. Total page count andbates range for the entire production, including both hard copy and
          electronic documents.

23. You need not produce documents which are readily publicly available.

24. Asto Item 3 in the Schedule, please consult with the Committee to determine a reasonable time
    period for compliance.
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,
                                            No. 19-cv-2379 (KBJ)
                v.

DONALD F. MCGAHN II,

                       Defendant.




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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,
                                            No. 19-cv-2379 (KBJ)
                v.

DONALD F. MCGAHN II,

                       Defendant.




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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,
                                            No. 19-cv-2379 (KBJ)
                v.

DONALD F. MCGAHN II,

                       Defendant.




                               EXHIBIT K
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,
                                            No. 19-cv-2379 (KBJ)
                v.

DONALD F. MCGAHN II,

                       Defendant.




                               EXHIBIT L
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